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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

MEROUANE LAKEHAL-AYAT,

                                                     Plaintiff,
            V.                                                          COMPLAINT


ST. JOHN FISHER COLLEGE,                                            Jury Trial Demanded
GERARD ROONEY,
KEVIN RAILEY,
RAMA YELKUR,AND
MARCIA O'BRIEN,

                                                  Defendants.


       Plaintiff Dr. Merouane Lakehal-Ayat("Plaintiff" or"Dr. Lakehal-Ayat"),

complaining by his attorney, Peter J. Glennon,Esq. of The Glennon Law Fmn,P.C.,

alleges the following as his complaint against St. John Fisher College (the "College"),

Gerard Rooney,Kevin Railey, Rama Yelkur, and Marcia O'Brien (collectively

"Defendants"):

                                NATURE OF THE ACTION

       1.        Plaintiff brings this civil action seeking at least $1,000,000.00 in damages

and injunctive relief against the College and its administration and employees,in their
respective professional, official, and individual capacities.

       2.        This case is about a college administration that failed in its obligations to

follow the law,its own rules,to comply with the express terms ofits contract with a

tenured and highly-regarded professor, permitted and condoned unlawful discrimination,

and encouraged unlawfiil and improper retaliation and bullying against Plaintiff.

       3.        It is a case about one respected man. Dr. Lakehal-Ayat, who was

persecuted and discriminated against because of who he is and what he believes. And
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then further mistreated by an inexperienced college administration that failed to consider

his rights as it drove toward a predetermined,false, conclusion.

       4.       As these matters typically go,one person started the discrimination. When

Dr. Lakehal-Ayat complained about the discrimination, he was then retaliated against for

complaining. Turning a blind eye to the discrimination and retaliation, others in higher

leadership positionsjoined in the retaliation against Plaintiff, the older, Muslim fix)m

Algeria, who looked and spoke differently than the others.

       5.       The retaliation appears to have continued due to the inexperience and

incompetence ofthe College administration, poor counsel that it received, and lack of

leadership by the President,Provost, Dean,and Department Chair.

       6.       The issues presented in this case started with improper discrimination,

grew to retaliation, and quickly spread to the trampling ofPlaintiffs rights and breaches

of his contract, by the highest levels ofCollege administration.

                              JURISDICTION AND VENUE

        7.      The Court has jurisdiction over this action pursuant to 42 U.S.C. 2000e-

5(f), 28 U.S.C. §§1331 and 1343(4). The Court hasjurisdiction over the state law claims

brought in this action pursuant to 28 U.S.C.§1367(a).

        8.      Venue is proper in this Court, pursuant to 28 U.S.C.§1391(b)because the

claim arose in this judicial district. Plaintiffresides in thisjudicial district, and the

Defendants reside and maintain a place of business within the District.

        9.      This Court has the power to issue declaratory relief pursuant to 28 U.S.C.

§2201 and §2202.
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       10.      Plaintifffiled a timely charge of discrimination against Defendant with the

Equal Employment Opportunity Commission (hereinafter"EEOC")and brought this
action within ninety(90)days ofthe receipt ofa Notice ofRight to Sue, which was

issued by the EEOC on September 24,2018,a true and correct copy of which is attached

hereto as Exhibit A.


          11.   Plaintiff has not commenced any other proceeding in any other forum

involving the alleged unlawful employment practices that were the subject ofthe EEOC

charge.

                                      THE PARTIES
                                       AND FACTS

                          PlaintifT Dr. Merouane Lakehal-Ayat

          12.   Plaintiffis an individual who resides in Monroe County,New York,a

location within the Western District of New York.

          13.   He is an employee of St. John Fisher College, which is a higher education

institution located in Monroe County,New York.

          14.   At all times relevant to this Complaint, Plaintiff was a "person" as defined

by the relevant laws.

          15.   At all relevant times. Plaintiff was 70 years old or more.

          16.   Plaintiff is a naturalized citizen ofthe United States and English is his

second language, although he speaks several languages.

          17.   Plaintiffis and has been a beloved tenured professor offinance at the

College since September 1,1992.
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       18.     Each year Plaintiff receives a written salary notification for tenured faculty

members("Tenure Letter").

       19.      The Tenure Letter confirms that a tenured faculty member's"appointment

continues to be subject to the provisions ofthe Faculty Statutes,...the *Standards of
Conduct' policy which is contained in the Employee Handbook and all other College

policies, rules and regulations[.]"

       20.     Plaintiff holds a Diploma from Ecole Nationale d'Administration,an

institution in Algeria, which he received in 1973. Dr. Lakehal-Ayat has additionally

received a Masters in Business Administration("MBA")in Finance from the University

of Denver in 1979,a Masters in Management, with a focus on International Management

from the University ofDenver in 1980,a Masters of Arts, with a focus ofInternational

Relations from the University ofDenver in 1981,and a Ph.D. focusing on International

Finance and Economics from the University ofDenver in 1989.

       21.     Plaintiffis a five-time Fulbright Fellow. Dr. Lakehal-Ayat has spent time

teaching internationally serving as a Fulbright Program Specialist, a title he has held

since 2002 and continues to hold.

       22.     Dr. Lakehal-Ayat is a devout Muslim who was educated by Jesuits and

appreciates and respects the Christian religion.

       23.     As a tenured professor offinance. Dr. Lakehal-Ayat reports to the Chair of

the Accounting and Finance Department within the College's School ofBusiness, who in

turn reports to the Dean ofthe Business School, who reports to the College's Provost,

who reports directly to the College's President, who reports to the College's Board of

Trustees.
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       24.     Throughout Dr. Lakehal-Ayat's career at St. John Fisher College, he has

been an exemplary employee and faculty member who has always received excellent
performance evaluations. In fact. Plaintiff has received the highest faculty award issued
by the College on four occasions.

       25.     Plaintiff has been discriminated against and suffered a hostile work

environment by the College and its agents due to his national origin, religious beliefs, and
age; and Plaintiff has been retaliated against for complaining ofsuch discrimination and
ofthe hostile work environment.

       26.     Further,the Defendants have repeatedly breached PlaintifPs employment

contract with the College.

                                 St. John Fisher College

       27.     Upon information and belief, at all times relevant to this Complaint,

Defendant St. John Fisher College is a private educational institution and an employer

under the relevant federal and state laws referenced herein.

       28.     The College is beloved by Plaintiff and many other employees and alumni.

       29.     The College is accredited by the Middle States Commission on Higher

Education("MSCHE").

       30.     In the past, the College's Business School has received additional

accreditation by the Advance Collegiate Schools ofBusiness International("AACSB").

       31.     Unfortunately, as ofthe date ofthis Complaint, under Drs. Rooney,

Railey, and Yelkur,the College's Business School has failed to obtain formal renewal of

the AACSB accreditation.
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       32.     Upon information and belief, the AACSB accreditation has not been

renewed in part due to the College improperly classifying Plaintiffs scholarly work in its
attempt to discriminate, retaliate, and force him out.

       33.     Upon information and belief, under this administration, enrollment in the
Business School has dropped by approximately 15%.

                            College President Gerard Rooney

       34.     The President is a male ofan age believed to be younger than Plaintiff.

His religion is unknown other than he is not Muslim.

       35.     He is relatively new at his position, having become College president in

July of2015.

       36.     Dr. Rooneyjoined St. John Fisher College in 1996 as a member ofthe

president's senior staff. His roles included executive vice president for enrollment,

advancement,and planning.

       37.     Dr. Rooney holds an undergraduate degree in sociology from Villanova

University and has his Master's degree in Educational Administration and Supervision at

Fairfield University. Dr. Rooney has received a Doctoral degree from the Department of

Educational Leadership and Policy, Higher Education Program, at the University at

Buffalo, State University ofNew York.

       38.     As further alleged herein, the President violated numerous sections ofthe

Faculty Statutes in his support ofthe Provost's, Dean's, and Chair's unlawful actions and

the collective mishandling offalse allegations asserted against Plaintiff.
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                             College Provost Kevin RaUey

       39.     The Provost is a male of an age believed to be yoimger than Plaintiff. His

religion is unknown other than he is not Muslim.

       40.     The Provost is also relatively new at his position, having started in July of

2016. He previously served as the Dean of adult education programs at Buffalo State

College, a school within the State University ofNew York college system("SUNY").

       41.     Provost Railey received a bachelor's degree in English from the State

University ofNew York at Albany and a Master's degree and a Ph.D. in English from the

State University ofNew York at Stony Brook.

       42.     The Provost has expressly stated that he and the College will hire only

Citizens ofthe United States. Upon information and belief, he has stated in an email to

faculty that only United States Citizens may be hired in faculty positions at St. John

Fisher College.

       43.     As fiirther alleged herein,the Provost violated numerous sections ofthe

Faculty Statutes in his mishandling offalse allegations asserted against Plaintiff.

                                   Dean Rama Yelkur


       44.     Dean Rama Yelkur is a female ofIndian descent ofan age believed to be

younger than Plaintiff. Her religion is Hindu. The Dean is relatively new at her position,

having been hired by the College in 2016.

       45.     Dean Yelkur received her Bachelor's degree in mathematics in 1986. She

then received an MBA from the PSG College ofTechnology in India in 1988. Dean

Yelkur earned her Doctorate in Business Administration in Marketing from Mississippi

State University in 1995.
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       46.     Dean Yelkur's academic career began at Texas A&M International

University as an Assistant Professor of Marketing from 1995 to 1998. She then joined the

faculty ofthe University of Wisconsin-Eau Claire, where she was a Professor of
Marketing and Director ofInternational Business Programs, until 2013. Then,Dean

Yelkur served as a dean at Saginaw Valley State University in Michigan unmediately

prior to joining St. John Fisher College.

        47.    Upon information and belief, the Dean prefers hiring faculty members

who are ofIndian descent, preferably followers of Hinduism. Upon information and

belief, on at least two separate occasions,the Dean has rejected the Business School

faculty choice for faculty hires, instead seeking to hire her preferred candidates over the

faculty's professional, academic,and experienced based objections.

        48.    The Dean manipulated students to mischaracterize their experiences with

Plaintiffin her effort to seek Plaintiff's dismissal from the College, due to her

discriminatory animus toward Plaintiff.

        49.    The Dean fabricated allegations and facts to present Plaintiffto others in a

false light.

                Former Department Chairperson Dr. Marcia O'Brien

        50.    The former chair ofPlaintiff's department is Dr. Marcia O'Brien, who is a

female ofan age believed to be younger than Plaintiff. Her religion is unknown,other

than she is not Muslim.

        51.    Upon information and belief, subsequent to Plaintiff being subjected to the

discrimination and while the retaliation and contract breaches continued, the College

replaced Dr. O'Brien as department Chair.
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                          The Dean's Discriminatory Animus

       52.    The Dean demonstrated her preference of hiring professors ofIndian

heritage who practiced the Hindu religion.

        53.    As one example,in searching for a new faculty member,the Dean favored

a candidate who was Indian and Hindu, but was inexperienced compared to another

candidate, who happened to be of African descent and Muslim background, although he
practiced Christianity, and who was supported by the faculty.

        54.    The Dean's disdain for Dr. Lakehal-Ayat first manifested into actionable

discrimination in May 2017 when,despite a strong review from his department chair Dr.

O'Brien,and his prior exceptional academic record,the Dean denied a salary increase to

Plaintiff.

        55.    Dr. Lakehal-Ayat was the only tenured College faculty member not to

receive a pay raise throughout the entire College tenured faculty.

        56.    Dr. Lakehal-Ayat complained to the Chair and Provost that the denied pay

raise was discriminatory against Plaintiff based on who he is and retaliatory because

Plaintiff did not support the Dean's favored Indian faculty candidate.

        57.    The Provost ultimately reversed the Dean's decision, but awarded Plaintiff

only a 2% salary increase.

        58.    All other faculty members received greater raises, specifically 2.5% for

tenured faculty who were deemed fully satisfactory, and 3.0% for tenured faculty

members exceeding expectations.

        59.    The failure to first approve a raise and then to finally approve a raise less

than other faculty members oflesser or equal qualifications was due to unlawful
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discrimination and retaliation based on Dr. Lakehal-Ayat's religion, national origin, and

age, and retaliation for having complained about the Dean's discriminatory action.
                         Retaliation Against Dr. Lakehal-Ayat

         60.   The Dean became frustrated that she was overruled by the Provost and

incensed that Plaintiffreceived a salary raise. But she was more incensed that Dr.

Lakehal-Ayat had complained ofher discriminatory treatment toward him. Immediately
thereafter, she continued to discriminate and retaliate against Plaintiff unlawfully.

         A.    Removal from Investment Club Advisor Role

         61.   The Dean sought to have Plaintiffremoved from his voluntary position as

faculty advisor to the Student Investment Club,a position Plaintiff had held for 18

months. The students ofthe Investment Club rebuked her efforts and even wrote letters of

support for Dr. Lakehal-Ayat. But she persisted and upon her later second attempt at his

removal,she manipulated the Investment Club students to remove Plaintiff as the faculty

advisor.

         B.    Denied Onnortunitv to Teach Graduate Courses

         62.   Then,in the Fall 2017 semester,the severe and pervasive harassment and

discrimination by the Dean continued when the Dean informed Plaintiffthat he would no

longer be able to teach graduate level courses. No reason was provided. Notably,Dr.

Lakehal-Ayat had been successful in teaching graduate level courses at the College for 32

years. He had even created one ofthe courses that he was then denied the opportumty to

teach.




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       63.    Denying Plaintiffthe opportunity to teach graduate-level courses also

denied Plaintiff additional compensation from the College when teaching overload

semesters.


       64.    At St. John Fisher College, it is typical for a professor to teach 3 courses

per semester. When needed,some faculty members will take on an additional fourth

course, which is considered to be an overload semester. Faculty members then receive

additional compensation for teaching an additional course.

       C.     Challcn^ng PlaintiflPs Scholarly Work

       65.    In the beginning ofthe Fall 2017 semester. Plaintiff gave notice to former

Department Chair Dr. O'Brien of his paper titled "A Big Data Bayesian Approach to

Earnings Profitability in the S&P 500"being officially accepted for publication by the

peer reviewed PSU Review Journal, including proofofacceptance.

       66.    As part ofthe College's guidelines. Dr. O'Brien informed Dr. Lakehal-

Ayat his publication information must be entered into Sedona in order to be reviewed and

updated.

       67.    Sedona is a self-service web database application that allows members to

maintain their teaching,research, service, experience, development,credentials, and

assessment records.


       68.    Dr. O'Brien congratulated Dr. Lakehal-Ayat in an email sent throughout

the School ofBusiness on September 11,2017 informing everyone that Plaintiffs

publication had been accepted in the PSU Review Journal.

       69.    However,on September 13,2017, Dr. Lakehal-Ayat was contacted by the

Dean's Assistant informing him that PSU Research Review: An International Journal was
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not listed on the Australian Business Deans Council("ABCD")list, and further mformed

Plaintiffthat his publication could not be included in Sedona as a reputable Peer Review

Journal("PRJ")for scholarly engagement of Scholarly Academic("SA")status.

       70.     This was surprising to Plaintiff, in part because the leading academics in

his field had published in thatjournal.

       71.     The Dean's assistant then emailed Dr. Lakehal-Ayat informing him that

one of his prior publications titled,     Crippled ConvicC was now under question by the
Dean after previously being accepted the previous April.

       72.     The Dean's assistant shared that the Dean was not agreeable to the journal

in which"A Crippled Convict" was published. The Dean's assistant then forwarded the
information to the College's Research and Publications Committee("RP Committee")for

review and comment.

        73.     The journal being disputed by the Dean was reputable. Dr. O'Brien

informed Plaintiffthat further discussion was necessary; however, she and the Dean

intentionally delayed that discussion,further harming Plaintiffs reputation and standing.

        74.     Upon information and belief. Dean Yelkur had asked the RP Committee to

delay consideration ofthe journal in which Plaintiffs paper was published until after the
upcoming AACSB reaccreditation visit, with the intent of harming Plaintiff and blaming
denial or reaccreditation, in part, on Plaintiff.

        75.     This intentional delay by Dean Yelkur and Dr. O'Brien was made with the

intention ofattempting to tarnish Plaintiffs professional image and make it appear as if

he had not conducted any scholarly work since the previous year.


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       76.    Later, at Plaintiffs request. Dr. O'Brien asked Dean Yelkur to continue

the process at the RP Committee level, but Dean Yelkur explicitly refused the request.
       77.    Ultimately,the Dean never provided an explanation, neither written nor

oral,to Plaintiffas to why his publications were being challenged five months after being
previously accepted.

       78.     Dean Yelkur and Dr. O'Brien targeted Dr. Lakehal-Ayat repeatedly,

which further tarnished his professional reputation.

       D.      Attempted Forced Retirement and Hostile Work Environment

       79.     On November 14,2017, Dr. O'Brien summoned Plaintiffto the Provost's

office to demand that he retire or be terminated.

       80.     Present at the November 14,2017 meeting were the Provost, Dean,Chair,

and Vice President of Human Resources Elizabeth Skrainar (collectively "the College

Representatives").

       81.     The College Representatives, led by the Provost, made ambiguous and

unclear allegations against Dr. Lakehal-Ayat about his classroom management, while
questioning his integrity and teaching performance.

        82.    With no basis,the College Representatives accused Plaintiffofnot

teaching his own classes and having students handle his faculty responsibilities, which
were preposterous and broad allegations without any factual basis.
       83.     The College Representatives told Dr. Lakehal-Ayat at that meeting that he
had to resign immediately or else the College would force a hearing to strip him of his
tenure and to publically embarrass him and damage his reputation.


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          84.   The Provost repeatedly stated that he was"100% confident" that Dr.

Lakehal-Ayat would be terminated.

          85.   Plaintiff asked what the allegations were against him, however,the

College Representatives refused to present any particular allegations.

          86.   The Provost told Dr. Lakehal-Ayat that written allegations would be

shared with him,but that Plaintiff needed to resign immediately or face termination of his

tenure.


          87.   Plaintiff declined to resign. At that time. Plaintiff was permitted to

continue his teaching responsibilities. But Dr. Lakehal-Ayat was told that he had to

decide between their two options, and was strongly encouraged to resign.

          88.   Dr. Lakehal-Ayat continuously asked that the Provost, Dean,and Chair

explain what allegations they were attempting to assert against him. They refused.

          89.   Dr. Lakehal-Ayat was perplexed becaiise he actually taught all of his

classes, prepared his lesson plans and syllabi, prepared and graded homework

assignments and exams,and had excellent relationships with his students.

          90.   As explained herein, only later did Plaintiffleam that the College and its

representatives were alleging that Plaintiff utilized students in the traditional role of

teaching assistants("Teaching Assistants" or "TAs").

          91.   Plaintiff never denied using TAs. He was one of many College faculty

members who used TAs.

          92.   At all relevant times,the College did not have a written policy on the use

of TAs.




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       93.    At all relevant times,the College did not have any policy in any form

regarding the use ofTAs.

       94.    To the contrary, the College has a history and past practice ofapproving

the use ofTAs,and actually paying some TAs for the work. Attached hereto as Exhibit B

is a true and correct copy ofa College document previously authorizing the use of TAs

for 9 professors, including Dr. Lakehal-Ayat.

       95.    Although the College did not have any TA policy, most other colleges and

universities do have TA Policies.

       96.    SUNY,the entire system and from where the Provost hails, even has a

written TA policy for the use of undergraduate students("SUNY TA Policy"). Attached

hereto as Exhibit C is a true and correct copy ofthe SUNY TA Policy.

       97.    Dr. Lakehal-Ayat's use ofTAs was done in compliance with the terms of

the SUNY TA Policy.

       98.     However,those facts were not satisfactory to the Defendants.

       99.    Prior to Dr. Lakehal-Ayat being suspended on November 27,2017 the

College began surreptitiously recording PlaintifPs classes without informing him or the

students.


       1 GO. Upon information and belief, the day ofDr. Lakehal-Ayat's suspension,

during his morning lectures, three of which are consecutive. Dean Rama Yelkur and

another colleague were seen pacing outside ofPlaintiff's classroom. These actions were

uncommon.




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       101.    As Plaintiff began conducting his final lecture ofthe morning, College

Campus Security guards were seen hovering outside his classroom. This action was also

uncommon.



       102.    On November 27,2017, Dr. Lakehal-Ayat was again summoned to the

Provost's office for another meeting with the College Representatives. There,the Provost

told Plaintiff again that the Provost was"100% confident" that Dr. Lakehal-Ayat would

be terminated by the College due to the use of TAs and,therefore. Dr. Lakehal-Ayat

needed to resign immediately.

       103.    Dr. Lakehal-Ayat again declined to resign and suggested that the parties'

legal counsel were addressing the parties' numerous concerns.

       104.    For an unknown reason, Dr. Lakehal-Ayat's suggestion infuriated the

Provost, who immediately informed Plaintiff orally that he was suspended.

      Continued Retaliation, Breaches of Contract,and an Investigation Farce

       105.    The Provost immediately suspended Dr. Lakehal-Ayat for the remainder

ofthe Fall 2017 fall semester-for refusing to resign.

       106.    The Provost was adamant that Plaintiff gather all ofhis belongings and

vacate his office and the College campus within 2 hours.

       107.    At that time,only the Vice President of Human Resources, Ms. Elizabeth

Skrainar, had the sense to object to the Provost's irrational, knee-jerk reaction. Ms.

Skrainar stated that the time limitation was unreasonable, and finally the Provost relented,

allowing Plaintiffthe remainder ofthe day to vacate the College campus.

       108.    Dr. Lakehal-Ayat was not provided any reason for this suspension.

       109.    He was not even provided a written statement ofhis suspension.
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       110. The suspension was ordered in direct violation ofthe Faculty Statutes,

which provides for suspension ofa tenured faculty member only ifthere is an immediate

risk ofharm to himselfor other persons. No such risk was present and the College

Representatives certainly did not state that there was any such risk.

       111. The College then assigned a replacement professor to complete Plaintiffs

classes for the Fall 2017 semester.

       112.    On or about November 28,2018,the replacement professor who is

younger than Plaintiff, and not Muslim,defamed Plaintiff by falsely stating to Plaintiffs

students that Dr. Lakehal-Ayat had been fired.

       113.    This fact, while defamatory,is also a fact demonstrating the caustic and

vitriolic motivations by the College and its Representatives.

       114.    While Dr. Lakehal-Ayat was suspended he was banished from campus and

his access to his office and College email were immediately cut off.

       115.    Further,former Chair Dr. Marcia O'Brien declared at two faculty

meetings in the School of Business on or around the day the suspension occurred that Dr.

Lakehal-Ayat had been fired and would not be returning to the College.

        116.   Dr. Lakehal-Ayat made several attempts to address the purported

allegations internally, but no meetings were conducted. Plaintiff was never given a

chance to tell his side ofthe story. Plaintiff was suspended without due process.

        117.   The College purported to conduct an investigation ofthe ambiguous

allegations.




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       118. However,that investigation consisted ofthe Provost asking Ms. Skrainar

to confirm that a handful ofstudents who complained to the Dean about Plaintiff actually

complained.

       119.      Then the Provost had Ms. Skrainar request from the few complaining

students only documents that supported the ambiguous allegations.

       120.      But there is more,the Provost had Ms. Skrainar cherry-pick documents

supportive ofthe ambiguous allegations, avoiding any exculpatory evidence,to include in

two binders of"official evidence."

       121.      But to make matters even worse, names of witness who could dispel the

ambiguous allegations were presented to Dr. O'Brien, but not one ofthem was ever

contacted, let alone interviewed, by the College.

       122.      Dr. Lakehal-Ayat, himself, was never even interviewed as part ofthe

College's investigation.

       123.      The College only suggested it had an interest in interviewing Dr. Lakehal-

Ayat only after he complained ofthe discrimination and retaliation; and did so because it

was concemed for its own legal liability.

       124.      The utterly flawed nature ofthe College's investigation was proven at the

subsequent Termination Hearing by,in part, the College Representatives own testimony.

       125.      To this date, the previously noted college officials have been vocal about

Plaintiff never returning to the College. The Provost and Dean have even hired a

replacement professor on tenure track to replace Dr. Lakehal-Ayat. The Provost ofthe

College has stated on several instances that"he is 100% confident that Plaintiff would not

be returning."
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        126. Dr. Lakehal-Ayat has done nothing wrong, yet he was bullied and

suspended due to his national origin, religion, and age; and for complaining about this
discrimination.

        127. Instead ofactually investigating the allegations, the Provost sought to try

to force Plaintiffto retire due to his age.

        128.    The Provost believed that by forcing Plaintiffto retire, then he would not

have to worry about the discrimination and retaliation issues arising from Dean Yelkur's

treatment ofPlaintiff.

        129.    The Provost suspended Plaintiffin violation ofthe Faculty Statutes.

        130. The Provost has previously testified that his decision to suspend Dr.

Lakehal-Ayat was later supported by the Board of Trustees Executive Committee.

        131. As she testified during the Termination Hearing, Dr. O'Brien encouraged

Plaintiff to retire, due to his age and the numerous issues related to this lawsuit.

               Banishment,Grievances,& More Faculty Statute Violations

        A.      Banishment

        132. During the suspension,the College took no further action against Dr.

Lakehal-Ayat.

        133. Plaintiffsought reinstatement for the Spring 2018 semester. However,the

College denied Plaintiffs request.

        B.        Grievance for Imnrooer Suspension

        134. Due to the College's denial. Plaintifffiled an administrative grievance

with the College.



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       135. Upon information and belief, the Provost and President interfered and

delayed the consideration ofthe grievance.

       136.    The Grievance Committee finally acted on the grievance only after

Plaintiffinquired as to its status and confirmed that information provided to it by the

Provost was false.

       137.    Upon information and belief, the Provost and President then further

intimidated the Grievance Committee to the point ofcompelling the Grievance

Committee to deny Plaintiffs suspension grievance for being untimely.

       138.    However,it was understood that the Grievance Committee had grave

concerns regarding Plaintiffs situation and desired investigating his claims further.

       C.      The Rank & Tenure Committee

        139.   Because the College had still failed to take any further action after

suspending Dr. Lakehal-Ayat, Plaintiff himselfsubmitted a letter to the College's Rank

and Tenure Committee("Rank & Tenure"), pursuant to Faculty Statute 3.13.1, seeking to

have Rank & Tenure exercise its authority to informally investigate the suspension and

allegations against Dr. Lakehal-Ayat.

        140.   Plaintiff sent a letter on February 19,2018 to the Co-Chairs ofthe

College's Rank and Tenure Committee to request, pursuant to Faculty Statute 3.13.1, that

this committee perform its duties and obligations to conduct an informal investigation

into the allegations brought by Provost Railey and others, which resulted in the

suspension ofDr. Lakehal-Ayat.




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       141.    The Provost was incensed that Plaintiff made his request and ran to Rank

& Tenure to explain that he and the President wanted Plaintiff dismissed from the

College.

       142.    The Provost and President then quickly had Ms. Skrainar prepare an

unsigned, anonymous,report to Rank & Tenure,intentionally mischaracterizing the
allegations and facts and misleading Rank & Tenure as to such pertinent mformation as:
the number ofstudents who allegedly complained, inflating by duplicating the number of

allegations and the length oftime supposed inappropriate actions had been ongoing,
among other things(the "Provost and President Report").

       143.    The Provost and President Report concluded by stating that:"It is the

Provost and the President's view that any faculty member who has acted as Dr. Lakehal-

Ayat,regardless oftheir race or religion, has failed to meet the minimum standards for
teaching at Fisher and,for the good ofthe students and our institution, should not be

permitted to teach any longer."

        144. Notably, under the Faculty Statutes, President Rooney was not supposed

to be involved with the investigation at this point. But the Provost and President Report

make clear that he had impermissibly injected himself into the situation, in violation of

the Faculty Statutes, and with the sole intent ofunduly influencing the Rank and Tenure
Committee.

        145.   On February 23,2018,the Rank & Tenure Committee Chairwoman sent a

letter to Dr. Lakehal-Ayat inviting him to make a presentation to the Rank & Tenure

Committee in response to the Provost and President Report.


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       146. This was the first time Dr. Lakehai-Ayat was actually invited to respond to

the allegations against him.

       147.    Plaintiff sent an email to the Rank & Tenure Chairwoman on March 2,

2018 confirming that he received her letter. He also objected to Provost Railey, who was
listed as a member ofthe Rank & Tenure committee, being present because the issues to

discuss included the Provost's improper actions.

       148. Dr. Lakehal-Ayat made the Committee aware that Faculty Statute 3.13.1,

clearly stated that:"Ifa member ofthe Rank and Tenure Committee is involved as one of
the principals in a case, that person shall not sit on the Committee when it investigates

that case."

       149.    Here,Provost Railey was not only involved as one ofthe principals, but

Dr. Lakehal-Ayat had a pending grievance against him and was fearful that his presence

at the meeting would greatly prejudice Plaintiff.

        150.   The Rank & Tenure Committee asked the Provost to recuse himself, but

he refused.

        151. Dr. Lakehal-Ayat was finally afforded an opportunity to present his side of

the story when he met with the Rank and Tenure Committee on March 9,2018. At that

time. Plaintiff was able to further explain his perspective ofthe events, which was the

truth ofthe matter.

        152.   After presenting his remarks. Dr. Lakehal-Ayat offered to answer any

questions presented by Rank & Tenure. They did not pose any questions.

        153.   Prior to leaving. Dr. Lakehal-Ayat left each Committee member with a

copy of his written responses to the College's allegations.
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       154.    Plaintififthen sent another email to the Rank and Tenure Committee on

March 21,2018 expressing his gratitude for affording him the opportunity to speak with

them,and went on to remind the Committee oftheir responsibilities. Dr. Lakehal-Ayat

stated why he believed a formal proceeding should not occur and that the matter could

end with a recommendation by the Rank & Tenure Committee.

        155. Upon information and belief, the Rank and Tenure committee took no

additional action. It considered the Provost and President Report and Dr. Lakehal-Ayat's

presentation. But Rank & Tenure,for no known reason,took any other action to

investigate the situation further under its authority, as the Faculty Statutes provide.

        156.   Upon information and belief, undue influence was exerted by President

Rooney and Provost Railey on Rank & Tenure.

        157.   Upon information and belief, the Rank and Tenure Committee was set to

finalize a 4 to 3 vote in favor ofDr. Lakehal-Ayat until a conunittee member with an

opinion favoring Dr. Lakehal-Ayat could not attend the vote due to a health issue.

        158. Thus, upon information and belief, the Rank and Tenure Committee

deadlocked at 3 to 3. The Rank and Tenure committee took no further action.

        159.    Ultimately, upon information and belief, the President and Provost

pressured the Rank & Tenure Chairwoman to sign a document formally commencing a

formal proceeding to terminate Dr. Lakehal-Ayat's tenure.

        160.   Notably,the Rank & Tenure Chairwoman's signature is not required

under the Faculty Statutes to commence a termination proceeding. But the President and

Provost thought that by doing so they could create the appearance ofrighteousness in

their improper actions.
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       161. The College, again informed Dr. Lakehal-Ayat that he was never going to

return and demanded that he retire and accept a retirement package. It was his last

chance.

       162. Dr. Lakehal-Ayat's integrity would not allow him to agree to such a

proposal and rejected it.

       163.      Thus,Dr. Lakehal-Ayat received a letter from Dr. Rooney on April 20,

2018 notifying him that the College had commenced formal proceedings to terminate his
tenured position, pursuant to Faculty Statute 3.13.2.

                            The Tenure Termination Proceeding

       164. The College was forming an Ad Hoc Committee to decide whether

Plaintiff should be terminated (the "Ad Hoc Committee" or "Hearing Committee").

        165. Upon information and belief, such a committee has never been formed

ever in the history ofthe College. Under the Faculty Statutes the committee is supposed

to be an impartial and an objective hearing committee.

          166.   However,the College made reference to the fact that even ifthe

Committee were to rule in Plaintiff's favor, the President and the Board of Trustees

would nevertheless terminate Dr. Lakehal-Ayat.

          167. Indeed,the College has already hired a replacement for Dr. Lakehal-Ayat,

who upon information and belief, is a woman, younger than Plaintiff, and who is not

Muslim.

          168.   The College and all defendants then continued their discrimination,

retaliation, and blatant violation ofPlaintifFs rights in preparing for the Termination

Hearing.
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       169.    The President sought to schedule the Termination Hearing during

Plaintifirs religion's holy month of Ramadan.

       170. The College was unwilling to work with Plaintiffs counsel ofchoice to

schedule the hearing, discuss procedure, or other relevant information.

       171. Under the Faculty Statutes,the College was required to assist Plaintiffin

securing witnesses and other evidence.

       172.    However,the College refiised to comply with its obligations.

       173.    The President refused to testify.

       174. The College refused to obtain and share with Dr. Lakehal-Ayat evidence

known to exist, including a written request by a student seeking an enhanced academic

grade and standing for assisting the Provost in ousting Dr. Lakehal-Ayat.

       175. The College also refiised to obtain and share with Plaintiff available, non-

confidential, information regarding the character and integrity ofthe chiefcomplaining

student, who was recruited by the Dean. This evidence included an order of protection

issued by the College safety office against this student.

       176.    The College refused to provide or to even entertain additional witnesses

who would support the true version of events.

       177. Upon information and belief. Dean Yelkur even actively sought to recruit

students to testify against Dr. Lakehal-Ayat during the Dismissal Hearing Proceeding and

stated to one student,"if you don't come forward Plaintiff will walk away free."

        178. Upon information and belief,there was exculpatory documentation in the

College's possession that would have been favorable to Plaintiff during the Termination

Hearing and the College refused to present it.
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       179.    Plaintifif submitted a July 3,2018 letter to the Ad Hoc Committee

requesting documents be secured pursuant to Faculty Statute 3.13.5, which requires the
Committee to "secure the presentation ofevidence important to the case."

        180. Dr. Rooney's counsel sent a letter to the Ad Hoc Committee on July 5,

2018 objecting to Dr. Lakehal-Ayat's document requests. In that letter, the President's

Counsel inappropriately stated that the requested documents were "wholly unnecessary

and irrelevant to the issues to be decided at the hearing." Notably,the President's counsel

had unfettered access to the College records, student records, and documents in preparing

her prosecution against Dr. Lakehal-Ayat.

        181. Plaintiff objected to this response. However,under pressure from the

College,the Ad Hoc Committee never secured any evidence Plaintiff had requested.

        182. The Termination Hearing was then held over 5 days-July 11,12,and 13

of2018 and August 9 and 10 of2018.

        183. Ultimately,the five-member Ad Hoc Committee ruled unanimouslv in Dr.

Lakehal-Ayat's favor,recommending dismissal ofall charges and reinstatement of

Plaintiff.

               The UNANIMOUS Decision in Dr. Lakehal-Ayat's Favor

        184.   The Ad Hoc Committee wrote a 29-page report, dated October 1,2018

(the "Committee Report"), which was distributed to Dr. Lakehal-Ayat and President
Rooney on October 2,2018.

        185.   The Committee Report concluded that all charges asserted against Dr.

Lakehal-Ayat by the College, President, and Provost, be dismissed and that Dr. Lakehal-


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Ayat be reinstated. Attached hereto as Exhibit D is a true and correct copy ofthe

Executive Summary ofthe Committee Report.

       186.    It must be noted that one ofthe unanimous Ad Hoc Committee members

was the very same Chairwoman ofthe Rank & Tenure Committee, who was pressured to

sign the charging statement. She also was the President's hand-selected choice to sit on

the Ad Hoc Committee.

    Report Cites Numerous Faculty Statute Breaches by College Administration

       187.    The Report includes an Appendix, which states numerous procedural

failures and flaws by the College and Drs. Rooney, Railey, Yelkur, and O'Brien (the

"Appendix"). A true and correct copy ofthe Appendix is attached hereto as Exhibit E

       188.    As alleged herein, and incorporated herein by reference, all ofthe noted

procedured violations are breaches ofDr. Lakehal-Ayat's employment contract by the

College.

                            Post Unanimous Report Delays

       189.    Pursuant to Faculty Statute 3.13.7, President Rooney shared the

Committee Report with the Board ofTrustees on or about October 2,2018.

       190.    Pursuant to Faculty Statute 3.13.7,the Board of Trustees is presumed to

accept and adopt the Committee Report. However,if it chooses to consider the facts,then

it may do so and must request argument from both sides.

       191.    Faculty Statute 3.13.7 states that:"On the assumption that the governing

board has accepted the principle ofthe faculty Hearing Committee,acceptance ofthe

Committee's decision would normally be expected. Ifthe governing body chooses to

review the case, its review should be based on the record ofthe previous hearing,
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accompanied by opportiinity for argument,oral or written or both, by the principals at the

hearing oftheir representatives."

       192.    The College then further delayed this matter.

       193.    On three occasions. Plaintiffsought an update and timeline from the

College regarding Board ofTrustees' action on the Committee Report. The College

would not provide a response or did not have one to provide.

       194.    Only later, on or about November 5,2018,the Board ofTrustees

requested additional arguments in support or opposition ofthe unanimous decision.

Those submissions were made on November 19,2018.

       195.    As ofthe date ofthis Complaint,there has been no further communication

from the College.

       196.    Dr. Lakehal-Ayat remains suspended.

       197.    These numerous unwarranted delays are further violations and breaches of

contract.


                                         CLAIMS

                             FIRST CLAIM FOR RELIEF
                                      (Discrimination)


        198.   Plaintiffrepeats and realleges as though fully set forth herein, all

allegations in the preceding paragraphs.

        199.   Plaintiff was subjected to discrimination by Defendants based on his

national origin, religion, and age.

       200.    Plaintiff was also subjected to a hostile work environment condoned by St.

John Fisher College.
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       201.    The conduct ofDefendants was outrageous and done in conscious

disregard ofPlaintiffs rights.

       202.    Therefore,Plaintiffis entitled to relief as provided under Title VII,

including, but not limited to, equitable and injunctive relief, punitive damages,expenses

and attorneys' fees in an amount to be determined at trial.

       203.    Plaintiff is also entitled to relief as provided under New York Human

Rights Law Sections 290,et seq., including section 296,including, but not limited to,

equitable and injunctive relief, punitive damages,expenses and attorneys' fees in an

amount to be determined at trial.

       204.    Defendants' conduct, particularly Defendant Yelkur, was and continues to

be outrageous, was done in a deliberate, callous, malicious,fiaudulent, and oppressive

manner intended to injure Plaintiff; was done with an improper and evil motive,amount

to malice and spite; and was done in conscious disregard ofPlaintiffs rights. Plaintiffis

therefore also entitled to an award of punitive damages under federal and state law.

                           SECOND CLAIM FOR RELIEF
                                       (Retaliation)

       205.    Plaintiff repeats and realleges as though fully set forth herein, all

allegations in the preceding paragraphs.

       206.    Plaintiff made good faith complaints to Defendants about the direct

discrimination against him and the hostile work environment.

       207.    All Defendants had knowledge ofPlaintiffs activities and the adverse

treatment he suffered as a consequence ofsuch activities.




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       208. As a proximate result of Defendants' actions, Plaintiff has suffered and
continues to suffer impairment and damage to Plaintiffs good name and reputation,

lasting embarrassment, humiliation and anguish, and other incidental and consequential

damages and expenses.

       209. Dr. Lakehal-Ayat complained ofthe illegal discrimination and retaliation

to the College. Because ofthose complaints,the College,the President, and the College

representatives further retaliated against Plaintiff by seeking to have the College's Rank
and Tenure Committee recommend that Plaintiff be terminated.

       210.    As a result ofthe foregoing. Dr. Lakehal-Ayat has lost promotional

opportunities, bonuses, and raises; has suffered mental anguish, emotional distress, and
loss ofenjoyment oflife; and has incurred damaged thereby.

       211.    Therefore,Plaintiff is entitled to relief as provided under Title VII,

including, but not limited to, equitable and injunctive relief, punitive damages,expenses

and attorneys' fees in an amount to be determined at trial.

       212.    Plaintiff is also entitled to relief as provided under New York Human

Rights Law sections 290,et seq., including section 296,including, but not limited to,

equitable and injunctive relief, punitive damages,expenses and attorneys' fees in an

amount to be determined at trial.

       213. Defendants' conduct, particularly Defendants Rooney,Railey, and Yelkur

was and continues to be outrageous, was done in a deliberate, callous, malicious,

fraudulent, and oppressive manner intended to injure Plaintiff; was done with an

improper and evil motive, amount to malice and spite; and was done in conscious


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disregard ofPlaintiff's rights. Plaintiffis therefore also entitled to an award of punitive
damages.

                             THIRD CLAIM FOR RELIEF
                                   (Breach of Contract)

       214. Plaintiff repeats and realleges as though fully set forth herein, all

allegations in the preceding paragraphs.

       215. A valid and enforceable employment contract exists between Plaintiff and

the College.

        216. That employment contract, by express language in the Tenure Letters,

provides that the College's Faculty Statutes are terms ofthe employment contract.

        217. The employment contract set Plaintiffs compensation each year.

        218.    Under the employment contract. Plaintiff was also entitled to earn

additional income if he taught additional courses.

        219.    At all relevant times. Plaintiffcomplied with his obligations under the

employment contract.

        220.    All Defendants breached the employment contract as described in this

complaint.

        221. Faculty Statute 3.13.3 (the "Suspension Statute") states:"Suspension of

the faculty member during the proceedings involving him/her is justified only if

immediate harm to himselffherself or others is threatened by his continuance. Unless

legal considerations forbid, any such suspension should be with pay."




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       222. The College,the Board of Trustees, President, and Provost breached the

Suspension Statute by suspending Plaintiff absent"an immediate harm to himselfor

others or is threatened by his continuance."

       223.     Faculty Statute 3.13.1 (the"Due Process Statute") states:"When reason

arises to question the fitness ofa college or university faculty member who has tenure or

whose term appointment has not expired,the appropriate administrative officers should

ordinarily discuss the matter with him/her in personal confidence. The Rank and Tenure

Committee elected by the faculty and charged with the function ofrendering confidential

advice in such situations should informally inquire into the situation, to effect an

adjustment if possible and,if none ifeffected, to determine whether in its view formal

proceedings to consider his/her dismissal should be instituted."

       224.    The College,President,Provost, Dean,and Chair breached the Due

Process Statute by interfering with the Rank and Tenure Committee informal proceeding,

as described in this complaint.

       225.    All Defendants further breached the Due Process Statute by:

           a. The President was to remain neutral, but submitted a report indicating his
              preference ofPlaintiffs termination, violating the statutes.

           b. The Provost was to recuse himselffrom the Rank and Tenure Committee
               informal proceeding, but refused to do so when requested by the Rank and
               Tenure Committee,including its Chair; all in violation ofthe statute.

           c. Plaintiff was denied Due Process throughout the academic due process
              investigation.

       226.    Faculty Statute 3.13.5(the "Dismissal Hearing Statute") states that:"The

Committee,in consultation with the President and the faculty member,should exercise its

judgment as to whether the hearing should be public or private. If any facts are in dispute,
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the testimony of witnesses and other evidence concerning the matter set forth in the

President's letter to the faculty member should be received. The President should have

the option ofattendance during the hearing. He/She may designate an appropriate

representative to assist in developing the case; but the Committee should determine the

order ofproof, should normally conduct questioning ofthe witnesses, and if necessary,

should secure the presentation ofevidence important to the case. The faculty member or

his/her counsel and the representative designated by the President should have the right,

within reasonable limits, to question all witnesses who testify orally. The faculty member

should have the opportunity to be confronted by all witnesses adverse to him/her."

227.    All Defendants breached the Dismissal Hearing Statute by:

           a. Refusing to permit the hearing to be completely public;

           b. Refusing to allow Plaintiffs legal counsel to question the witnesses
               presented at the hearing;

           c. Refiising to secure the presentation ofevidence at the Hearing important
               to the case, including, without limitation:

                    i. written evidence by a former student who requested a grade
                       enhancement for assisting the College with getting rid ofDr.
                       Lakehal-Ayat; and

                   ii. record evidence of another student's character and integrity flaws,
                       demonstrated by his on campus behavior resulting in an order of
                       protection.

           d. Refusing to provide Plaintiffthe opportunity at the Hearing to confront
                witnesses adverse to him,including without limitation. President Rooney,
                who refused to testify in the Hearing;

        228.   Faculty Statute 3.15.3(the "Informal Grievance Statute") states that:"A

faculty member who believes that he or she has a grievance should first make a good

faith effort to resolve the matter with the appropriate party or parties, enlisting the aid of
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mediating persons as appropriate. Ifthis is unsuccessful,the grievant should discuss the

situation with the School Dean.Ifthe grievance is directed at the School Dean,the

grievant should discuss the situation with the Provost. Ifthe grievance is directed at the

Provost the grievant should discuss the situation with the President."

       229. Faculty Statute 3.13.5(the "Grievance Procedures Statute")states that:"In

all cases,the formal procedures ofthis Part 3.13.5 are available only for grievances

which assert that there was a breach, misinterpretation or misapplication ofthe

procedures involved in arriving at a decision, or that bias, conflict ofinterest, or other

prejudice materially tainted the decision. Parties wishing to bring a formal grievance

must notify the President and the Chair ofthe Grievance Committee within one month.

       230. The College, Provost, and President breached the Grievance Statutes by:

           a. The Provost informed the Grievance Committee not to investigate
              Plaintiff's Grievance, which delayed the Grievance.

           b. The College incorrectly denied the first Grievance as untimely.

           c. The President refused to mediate a second Grievance because he falsely
               blamed the Board of Trustees, not the Provost,for suspending Plaintiff;
               stating that no grievance may be filed for Board of Trustee actions.

       231.    The Board of Trustees breached and continues to breach the Due Process

Statute by failing to act on the Unanimous Report by the Ad Hoc Committee

                             DEMAND FOR JURY TRIAL

       232.    Plaintiff hereby demands ajury trial.

WHEREFORE, as a result of the discriminatory conduct and all actions of the

Defendants herein alleged. Plaintiffdemands:

       (1) Judgment declaring that Defendants violated the relevant laws;

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     (2) Defendants, their agents, employees, officers and successors in interest, and
         those acting in concert with Defendants, be permanently enjoyed firom
         engaging in the future in the wrongful practices alleged herein;

     (3) An Award of Plaintiffs actual damages in an amount to be determined at
         trial, for loss of wages, benefits, pecuniary opportunities, and promotional
         opportunities, including an award of front-pay, back-pay, compensation for
         loss of future salary and benefits; plus an award of punitive damages on all
             claims;

     (4) An award of damages in an amount to be determined at trial, to compensate
         Plaintiff for mental anguish, humiliation, embarrassment, professional
             reputation injury, and emotional injury;

     (5) That Plaintiff be made whole in the form of back pay and fi*ont pay and
             afforded all benefits which would have been afforded Plaintiff but for said
             discrimination;

     (6) Defendants be ordered to pay Plaintiff prejudgment interest;

         (7) Defendants be ordered to pay the costs and disbursements of this action,
             including attorneys' fees;

     (8) The total damages award is to be determined at trial, but in no event should it
             be less than $1,000,000.00; and

     (9) Such other and further relief as this Court deems proper.


Dated:      December 17, 2018
            Rochester, New York
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